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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                   NEWPORT NEWS DIVISION

       In re: BUCK, DAVID PAUL                                        §    Case No. 17-51549-SCS
              BUCK, AMY DENISE                                        §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Clara P. Swanson, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $205,282.57                          Assets Exempt: $30,536.57
 (without deducting any secured claims)
 Total Distribution to Claimants:$6,272.67             Claims Discharged
                                                       Without Payment: $56,493.37

 Total Expenses of Administration:$1,669.65


         3) Total gross receipts of $     13,840.32      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $     5,898.00 (see Exhibit 2   ), yielded net receipts of $7,942.32
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $138,888.00             $0.00               $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           1,669.65          1,669.65           1,669.65

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    128,585.03          79,643.42          62,766.04          6,272.67

                                          $267,473.03         $81,313.07         $64,435.69         $7,942.32
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on November 06, 2017.
  The case was pending for 20 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 07/02/2019                 By: /s/Clara P. Swanson
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                                 $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                             RECEIVED
     Inheritance from father's estate                                                     1290-000                                   13,840.32


    TOTAL GROSS RECEIPTS                                                                                                            $13,840.32

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                                 $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                  PAID
 David Paul BUck                                  Exemption Buck Estate                   8100-002                                    5,898.00

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                             $5,898.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS            CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED             PAID
                                                       CODE                6D)
 NOTFILED-1 Wells Fargo Bank                           4110-000              22,296.00            N/A                    N/A                      0.00

 NOTFILED-1 New Pennfinn Shellpoint                    4110-000              85,523.00            N/A                    N/A                      0.00
            Mortga
 NOTFILED-1 Ally Financial                             4110-000              22,251.00            N/A                    N/A                      0.00

 NOTFILED-1 Langley Federal Credit Union 4110-000                              8,818.00           N/A                    N/A                      0.00


    TOTAL SECURED CLAIMS                                                   $138,888.00                  $0.00             $0.00                  $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS            CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED             PAID
                                                       CODE
 Trustee Compensation - Clara P. Swanson                    2100-000            N/A                  1,544.23           1,544.23            1,544.23

 Trustee Expenses - Clara P. Swanson                        2200-000            N/A                     74.04             74.04                  74.04




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 Other - Rabobank, N.A.                        2600-000            N/A                   5.00          5.00             5.00

 Other - Rabobank, N.A.                        2600-000            N/A                   5.29          5.29             5.29

 Other - Rabobank, N.A.                        2600-000            N/A                  12.11         12.11           12.11

 Other - Rabobank, N.A.                        2600-000            N/A                  10.59         10.59           10.59

 Other - INSURANCE PARTNERS AGENCY, INC.       2300-000            N/A                   7.43          7.43             7.43

 Other - Rabobank, N.A.                        2600-000            N/A                  10.96         10.96           10.96

 TOTAL CHAPTER 7 ADMIN. FEES                                 N/A                   $1,669.65      $1,669.65        $1,669.65
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                                CLAIMS               CLAIMS             CLAIMS          CLAIMS
                                         TRAN.
                                                        SCHEDULED            ASSERTED           ALLOWED           PAID
                                         CODE
                                                      None

 TOTAL PRIOR CHAPTER ADMIN.                                  N/A                        $0.00        $0.00            $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM          CLAIMS               CLAIMS
   CLAIM                                                SCHEDULED            ASSERTED            CLAIMS          CLAIMS
    NO.           CLAIMANT               TRAN.            (from Form        (from Proofs of     ALLOWED           PAID
                                         CODE                 6E)                Claim)
                                                      None

 TOTAL PRIORITY UNSECURED                                          $0.00                $0.00        $0.00            $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM          CLAIMS               CLAIMS
   CLAIM                                                SCHEDULED            ASSERTED            CLAIMS          CLAIMS
    NO.           CLAIMANT               TRAN.            (from Form        (from Proofs of     ALLOWED           PAID
                                         CODE                 6F)                Claim)
      1 -1 DISCOVER BANK                   7100-000             7,695.00             7,456.73          0.00             0.00

      2 -1 CAVALRY SPV I, LLC              7100-000                846.00              846.16          0.00             0.00

      3 -1 PORTFOLIO RECOVERY              7100-000                834.00              834.31          0.00             0.00
           ASSOCIATES, LLC
      4 -1 PORTFOLIO RECOVERY              7100-000            18,866.00           18,886.30      18,886.30         1,887.45
           ASSOCIATES, LLC
      5 -1 US DEPARTMENT OF EDUCATION      7100-000            38,208.00           38,457.35      38,457.35         3,843.32

      6 -1 AMERICAN EXPRESS NATIONAL       7100-000             1,021.00             1,021.93      1,021.93          102.13
           BANK
      7 -1 WELLS FARGO BANK, N.A.          7100-000             4,400.00             4,400.46      4,400.46          439.77

      8 -1 WELLS FARGO BANK, N.A.          7100-000             4,377.00             4,377.99          0.00             0.00



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       9 -1 DIRECTV, LLC                7100-000          511.00         105.20         0.00             0.00

      10 -1 PORTFOLIO RECOVERY          7100-000        2,957.00     2,957.96           0.00             0.00
            ASSOCIATES, LLC
      11 -1 QUANTUM3 GROUP LLC AS AGENT 7100-000          299.00         299.03         0.00             0.00
            FOR
 NOTFILED-1 Bank of America             7100-000          377.00   N/A                N/A                0.00

 NOTFILED-1 Best Buy                    7100-000        1,346.00   N/A                N/A                0.00

 NOTFILED-1 Barclay Bank                7100-000        1,984.00   N/A                N/A                0.00

 NOTFILED-1 Great Lakes Higher Education 7100-000      38,208.00   N/A                N/A                0.00

 NOTFILED-1 Victoria's Secret           7100-000        2,024.03   N/A                N/A                0.00

 NOTFILED-1 Chase                       7100-000        2,677.00   N/A                N/A                0.00

 NOTFILED-1 Chase                       7100-000        1,366.00   N/A                N/A                0.00

 NOTFILED-1 Chase                       7100-000          589.00   N/A                N/A                0.00

 TOTAL GENERAL UNSECURED                             $128,585.03   $79,643.42     $62,766.04        $6,272.67
 CLAIMS




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                                                                                                                                                                  Exhibit 8


                                                                             Form 1                                                                               Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 17-51549-SCS                                                            Trustee:       (660110)      Clara P. Swanson
Case Name:        BUCK, DAVID PAUL                                                   Filed (f) or Converted (c): 11/06/17 (f)
                  BUCK, AMY DENISE                                                   §341(a) Meeting Date:        12/11/17
Period Ending: 07/02/19                                                              Claims Bar Date:             05/16/18

                                 1                                   2                          3                      4                 5                    6

                    Asset Description                            Petition/             Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                  Values             Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                             Remaining Assets

 1       103 Kelsey Road, Williamsburg, VA 23185-0000               150,000.00                        0.00                                    0.00                    FA
         Ent
          Imported from original petition Doc# 1

 2       Savings: Langley Federal Credit Union                           200.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 3       Checking: Town Bank                                              70.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 4       Checking: Wells Fargo                                           800.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 5       stove $300.00; refrigerator $350.00; dishwasher              3,500.00                        0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 6       TV $100.00; computer $200.00                                    300.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 7       Debtor Husband wearing apparel                                  500.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 8       Debtor wife wearing apparel                                     500.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

 9       wedding set                                                  1,000.00                        0.00                                    0.00                    FA
          Imported from original petition Doc# 1

10       misc. costume jewelry                                           350.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

11       401K: BB&T 401K                                             22,439.57                        0.00                                    0.00                    FA
          Imported from original petition Doc# 1

12       Wags & Whiskers Pet Sitting Services, LLC, 100%                  10.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

13       2017 Income tax to be filed in 2018: Federal                      1.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

14       2017 Income Tax to be filed in 2018: State                        1.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

15       1/5 Interest in Estate of Aubrey Buck (property                   1.00                       0.00                                    0.00                    FA
          Imported from original petition Doc# 1

16       2015 Jeep Wrangler, 67000 miles. Entire property            19,000.00                        0.00                                    0.00                    FA


                                                                                                                                 Printed: 07/02/2019 09:22 AM      V.14.50
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                                                                                    Form 1                                                                                    Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 17-51549-SCS                                                                   Trustee:        (660110)     Clara P. Swanson
Case Name:         BUCK, DAVID PAUL                                                         Filed (f) or Converted (c): 11/06/17 (f)
                   BUCK, AMY DENISE                                                         §341(a) Meeting Date:        12/11/17
Period Ending: 07/02/19                                                                     Claims Bar Date:             05/16/18

                                1                                           2                          3                       4                    5                     6

                     Asset Description                                 Petition/              Estimated Net Value         Property             Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,   Abandoned             Received by       Administered (FA)/
                                                                        Values              Less Liens, Exemptions,      OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                 Remaining Assets

           Imported from original petition Doc# 1

17        2010 Mercury Milan, 107138 miles. Entire propert                  3,750.00                           0.00                                      0.00                     FA
           Imported from original petition Doc# 1

18        2006 Saturn VUE, 21400 miles, Debtor not in poss                  2,000.00                       1,999.00                                      0.00                     FA
           Imported from original petition Doc# 1

19        1997 Mercury Grand Marquis, 72131 miles. Entire                       550.00                         0.00                                      0.00                     FA
           Imported from original petition Doc# 1

20        1990 Ford Ranger, 131688 miles. Entire property                       300.00                         0.00                                      0.00                     FA
           Imported from original petition Doc# 1

21        3 dogs and 5 cats (not for sale or breeding)                           10.00                         0.00                                      0.00                     FA
           Imported from original petition Doc# 1

22        Inheritance from father's estate (u)                              6,670.66                       6,670.66                                 13,840.32                     FA

 22      Assets      Totals (Excluding unknown values)                   $211,953.23                    $8,669.66                                  $13,840.32                  $0.00



      Major Activities Affecting Case Closing:

                  Waiting for remainder of inheritance
                  Received debtor's share of iheritance 11-08-18
                  Received final disriubtion of debtor's share of inheritance 12-28-18
                  Debtor amended his exemptions 4-2-19
                  Paid debtor his $5898 exemption 4-5-19

      Initial Projected Date Of Final Report (TFR):       February 12, 2019                   Current Projected Date Of Final Report (TFR):       May 21, 2019 (Actual)




                                                                                                                                              Printed: 07/02/2019 09:22 AM     V.14.50
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                                                                                  Form 2                                                                                         Page: 1

                                                   Cash Receipts And Disbursements Record
Case Number:        17-51549-SCS                                                                    Trustee:            Clara P. Swanson (660110)
Case Name:          BUCK, DAVID PAUL                                                                Bank Name:          Rabobank, N.A.
                    BUCK, AMY DENISE                                                                Account:            ******1266 - Checking Account
Taxpayer ID #: **-***3901                                                                           Blanket Bond:       $3,000,000.00 (per case limit)
Period Ending: 07/02/19                                                                             Separate Bond: N/A

   1            2                          3                                        4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From                  Description of Transaction                 T-Code              $                  $       Account Balance
11/08/18      {22}      Estate of Fleming A Buck Sr. Joanna Inheritance                                        1290-000              6,670.06                                   6,670.06
                        B Trentham adm exe or pe
11/08/18      {22}      Estate of Fleming A Buck Sr. Joanna Inheritance                                        1290-000                  0.60                                   6,670.66
                        B Trentham adm exe or pe
11/30/18                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        5.00             6,665.66
12/28/18      {22}      Bank Of America                     Distribution to Heirs re-Closing Expenses &        1290-000              7,169.66                               13,835.32
                                                            Distribution
12/31/18                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        5.29         13,830.03
01/31/19                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                       12.11         13,817.92
02/28/19                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                       10.59         13,807.33
03/05/19      101       INSURANCE PARTNERS                  BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                        7.43         13,799.90
                        AGENCY, INC.                        BALANCE AS OF 03/05/2019 FOR CASE
                                                            #17-51549, Bond Payment
03/29/19                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                       10.96         13,788.94
04/05/19      102       David Paul BUck                     Exemption Buck Estate                              8100-002                                   5,898.00              7,890.94
04/30/19                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                       10.14             7,880.80
05/10/19                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                      -10.14             7,890.94
                                                            Adjustment
06/17/19      103       Clara P. Swanson                    Dividend paid 100.00% on $74.04, Trustee           2200-000                                       74.04             7,816.90
                                                            Expenses; Reference:
06/17/19      104       Clara P. Swanson                    Dividend paid 100.00% on $1,544.23, Trustee        2100-000                                   1,544.23              6,272.67
                                                            Compensation; Reference:
06/17/19      105       PORTFOLIO RECOVERY                  Dividend paid 9.99% on $18,886.30; Claim# 4 7100-000                                          1,887.45              4,385.22
                        ASSOCIATES, LLC                     -1; Filed: $18,886.30; Reference:
06/17/19      106       US DEPARTMENT OF                    Dividend paid 9.99% on $38,457.35; Claim# 5 7100-000                                          3,843.32               541.90
                        EDUCATION                           -1; Filed: $38,457.35; Reference:
06/17/19      107       AMERICAN EXPRESS NATIONAL           Dividend paid 9.99% on $1,021.93; Claim# 6         7100-000                                      102.13              439.77
                        BANK                                -1; Filed: $1,021.93; Reference:
06/17/19      108       WELLS FARGO BANK, N.A.              Dividend paid 9.99% on $4,400.46; Claim# 7         7100-000                                      439.77                 0.00
                                                            -1; Filed: $4,400.46; Reference:

                                                                                 ACCOUNT TOTALS                                     13,840.32            13,840.32                $0.00
                                                                                         Less: Bank Transfers                            0.00                  0.00
                                                                                 Subtotal                                           13,840.32            13,840.32
                                                                                         Less: Payments to Debtors                                        5,898.00
                                                                                 NET Receipts / Disbursements                     $13,840.32             $7,942.32




{} Asset reference(s)                                                                                                                        Printed: 07/02/2019 09:22 AM        V.14.50
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                                                                            Form 2                                                                                       Page: 2

                                                 Cash Receipts And Disbursements Record
Case Number:        17-51549-SCS                                                             Trustee:            Clara P. Swanson (660110)
Case Name:          BUCK, DAVID PAUL                                                         Bank Name:          Rabobank, N.A.
                    BUCK, AMY DENISE                                                         Account:            ******1266 - Checking Account
Taxpayer ID #: **-***3901                                                                    Blanket Bond:       $3,000,000.00 (per case limit)
Period Ending: 07/02/19                                                                      Separate Bond: N/A

   1            2                         3                                   4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance

                              Net Receipts :        13,840.32
                    Less Payments to Debtor :        5,898.00                                                                  Net             Net                   Account
                                                ————————                    TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances
                                 Net Estate :       $7,942.32
                                                                            Checking # ******1266                           13,840.32              7,942.32                 0.00

                                                                                                                           $13,840.32             $7,942.32                $0.00




{} Asset reference(s)                                                                                                                 Printed: 07/02/2019 09:22 AM        V.14.50
